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 8                         UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10                      WESTERN DIVISION AT LOS ANGELES
11   BROIDY CAPITAL MANAGEMENT LLC, Case No. 2:18-CV-02421-JFW-E
     ELLIOTT BROIDY, and ROBIN
12   ROZENWEIG                       Assigned to Hon. John F. Walter and
                                     Magistrate Judge Charles F. Eick
13                       Plaintiffs,
14         v.                                       ORDER ON JOINT
                                                    STIPULATION TO EXTEND
15   STATE OF QATAR, STONINGTON                     TIME TO RESPOND TO
     STRATEGIES LLC, NICOLAS D. MUZIN,              COMPLAINT
16   and DOES 1-10
                                                    Complaint Served: March 29, 2018
17                            Defendants.           Current Response Date: April 19,
                                                    2018, May 2, 2018
18                                                  New Response Date: June 8, 2018
19
                                                    Complaint Filed: March 26, 2018
20                                                  Rule 26 Report Due: May 21, 2018
                                                    Scheduling Conference: June 4, 2018
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22
           Presently before the Court is Plaintiffs’ and Defendants Stonington Strategies
23
     LLC and Nicolas D. Muzin’s Joint Stipulation to extend the time for Defendants
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     Stonington Strategies LLC and Nicolas D. Muzin to respond to the Complaint. After
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     being advised of the status of the case and good cause appearing, the Joint Stipulation
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     is GRANTED.
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                                              1                Case No. 2:18-CV-02421-JFW-E
                ORDER TO EXTEND TIME TO RESPOND TO COMPLAINT
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 1         IT IS HEREBY ORDERED:
 2         Defendants Stonington Strategies LLC and Nicolas D. Muzin shall have up to
 3   and including June 8, 2018 to answer or otherwise respond to the Complaint.
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     IT IS SO ORDERED.
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 6   Dated: April 19, 2018

 7                                           Hon. John F. Walter
                                             United States District Judge
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              ORDER TO EXTEND TIME TO RESPOND TO COMPLAINT
